 Case: 21-2325   Document: 132        Filed: 06/25/2024    Pages: 25


                           No. 21-2325


        IN THE UNITED STATES COURT OF APPEALS
               FOR THE SEVENTH CIRCUIT
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                  SAINT ANTHONY HOSPITAL,
                      Plaintiff-Appellant,

                                 v.

ELIZABETH M. WHITEHORN, in her official capacity as Director of the
      Illinois Department of Healthcare and Family Services,
                        Defendant-Appellee.
                  ______________________________

            Appeal from the United States District Court
                For the Northern District of Illinois
                       Hon. Steven C. Seeger
                           1:20-cv-02561
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          SAINT ANTHONY HOSPITAL’S RESPONSE
          TO PETITIONS FOR REHEARING EN BANC
                ______________________________

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                              Edward W. Feldman
                              William J. Katt
                              Mary Eileen Cunniff Wells
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                              Counsel for Saint Anthony Hospital
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Appellate Court No: 21-2325
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               Saint Anthony Hospital v. Elizabeth M. Whitehorn
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          Saint Anthony Hospital
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          Miller Shakman Levine & Feldman LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    N/A
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(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          N/A
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                      /s/ Mary Eileen Cunniff Wells
Attorney’s Signature: ________________________________________       June 25, 2024
                                                               Date: ________________________________________

                         Mary Eileen Cunniff Wells
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Miller Shakman Levine & Feldman LLP, 30 West Monroe Street, Suite 1900, Chicago, Illinois 60603
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                                  INTRODUCTION

      The panel has heard the same appeal twice, reaching the same result, based

on the same Supreme Court and Seventh Circuit precedent. The only difference is

that the second decision, 100 F.4th 767 (7th Cir. 2024) (“Decision”), applied the

Supreme Court’s opinion affirming this Court’s decision in Talevski. This Court

denied rehearing the first time, 40 F.4th 492 (7th Cir. 2022). Because nothing

material has changed, it should do so again.

      The two petitions for en banc rehearing (“HFS Petition” and “MCOs Petition”)

satisfy neither requirement of Federal Rule of Appellate Procedure 35(a). En banc

consideration is not “necessary to secure or maintain uniformity of the court’s

decisions.” Fed. R. App. P. 35(a)(1). The Decision is faithful to a long line of precedent

of this Court and the Supreme Court. While timely payment of providers is important

to providers, and especially to the finances of safety net hospitals like Saint Anthony

Hospital (the “Hospital”), the legal question at issue is not of “exceptional importance”

under Rule 35(a)(2). It involves application of extensive Supreme Court and Seventh

Circuit precedent regarding individual rights to enforce a section of the Medicaid

Act—not the rare case warranting consideration by the full court, as this Court

previously decided.

      This legal soil is well-tilled. Over a dozen years, many members of this Court

on various panels have found private rights to sue under 42 U.S.C. § 1983 for alleged

violations of several sections of the Medicaid Act. None was reheard en banc. See

Talevski by next friend Talevski v. Health & Hosp. Corp. of Marion Cnty., 6 F.4th 713
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(7th Cir. 2021) (Kanne, Wood, Scudder, JJ.), aff’d sub nom. Health & Hosp. Corp. of

Marion Cnty. v. Talevski, 599 U.S. 166 (2023); BT Bourbonnais Care, LLC v.

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838 F.3d 837 (7th Cir. 2016) (Wood, Posner, and Easterbrook, JJ.); Planned

Parenthood of Indiana, Inc. v. Comm’r of Indiana State Dep’t of Health, 699 F.3d 962

(7th Cir. 2012) (Cudahy, Kanne, Sykes, JJ.); Bontrager v. Indiana Fam. & Soc. Servs.

Admin., 697 F.3d 604 (7th Cir. 2012) (Kanne, Wood, Tinder, JJ.). The law in this area

is well-developed and requires no elucidation by the full court.

      The petitions for rehearing and the Amicus brief misrepresent the rulings,

rationale, and consequences of the Decision. HFS claims that the Decision ignores

controlling case law. Not so. It faithfully applied that law to conclude that Congress

intended to give Medicaid providers, like the Hospital, the right to sue the State when

the insurance companies hired by the State fail to comply with the statutory

requirements for timely, understandable payments, that were written for the benefit

of providers.

      The petition filed by the intervenor insurance companies (“MCOs”) describes

the Decision as a sky-is-falling catastrophe. But it only sustained a claim on a motion

to dismiss at the pleading stage. It opens the possibility that the State might be

required—after a hearing in the district court—to take some action to cause the

MCOs to do a better job of timely paying Medicaid providers as required by law. It

does not eliminate State discretion, tell the district court what relief to enter, make

the district court a Medicaid claims administrator, or “disparage” arbitrations.



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                                   ARGUMENT

I.    The Decision faithfully followed Supreme Court precedent
      in finding timely payment enforceable under § 1983.

      A. It accurately applied Talevski/Gonzaga.

      HFS does not dispute that the Decision cited the correct standards, as set forth

in Talevksi/Gonzaga,1 for determining when a statute creates an individual right to

sue under § 1983. It disagrees with the Decision’s application of those standards.

Contrary to HFS’s argument, the Decision correctly applied the Talevski/Gonzaga

standards and its “demanding bar” in concluding that 42 U.S.C. § 1396u-2(f) gives

providers the right to sue the State to take action to ensure timely payment from the

MCOs. 100 F.4th at 778.

      The Decision first focused on the relevant statutory text, Section 1396u-2(f),

which provides:

      Timeliness of payment; adequacy of payment for primary care services.
      A contract under section 1396b(m) of this title with a medicaid managed
      care organization shall provide that the organization shall make
      payment to health care providers . . . on a timely basis consistent with
      the claims payment procedures described in section 1396a(a)(37)(A) of
      this title, unless the health care provider and the organization agree to
      an alternate payment schedule.

Section 1396a(a)(37)(A), in turn, declares that a “State plan for medical assistance

must . . . (37) provide for claims payment procedures which (A) ensure that” 90% of

“clean claims” “are paid” in 30 days and 99% in 90 days. 42 U.S.C. § 1396a(a)(37)(A).




1 Talevski/Gonzaga refers to Health and Hospital Corporation of Marion County v.
Talevski, 599 U.S. 166 (2023), and Gonzaga University v. Doe, 536 U.S. 273 (2002).
The “Decision” refers to the majority decision.
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       Following Talevski/Gonzaga, the Decision employed traditional tools of

statutory construction “to assess whether Congress has ‘unambiguously conferred’

‘individual rights upon a class of beneficiaries’ to which the plaintiff belongs.” 100

F.4th at 778 (quoting Talevski, 599 U.S. at 183-84). This “test is satisfied where the

provision in question is ‘phrased in terms of the persons benefited’ and contains

‘rights-creating,’ individual-centric language with an ‘unmistakable focus on the

benefited class.’” Id.

       The Decision correctly concluded that Section 1396u-2(f) satisfied the

Talevski/Gonzaga test because the statutory text “is concerned with whether the

needs of particular persons and entities—providers like Saint Anthony—have been

satisfied.” 100 F.4th at 781. HFS is wrong that the Decision watered-down Talevski

to require only a general benefit to a class. The focus of Section 1396u-2(f), the

Decision said, “is directly on the interest Saint Anthony asserts here: ensuring that

providers receive timely payment from MCOs.” In addition to mandatory language

(“shall make payment to health care providers . . . on a timely basis . . . .”), it found

this focus in the Section’s “close attention to provider specific exemptions from the

30/90 day schedule.” By explicitly authorizing the provider to agree to a different

schedule, it “establishes a personal right to timely payment, which all providers are

entitled to insist upon.” The Section is “not just a benchmark for aggregate

performance.” 100 F. 4th at 781.

       HFS’s does not discuss—let alone attempt to give any other meaning to—the

language in Section 1396u-2(f) giving each provider an individual right to set its own



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payment schedule, tacitly acknowledging that there is no way to square that

unmistakable individual rights with HFS’s argument that Section 1396u-2(f) grants

providers none.

      HFS argues that when the Decision said that “providers like Saint Anthony

are the intended beneficiaries of the prompt payment term in section 1396u-2(f),” it

applied a benefits test to determine an individual right to sue and disregarded

“Gonzaga’s central holding [that] . . . rights do not flow from ‘benefits’ to a class of

persons . . . .” HFS Petition at 9. HFS claims that the Decision failed to recognize the

difference between the requirement that a statute confer rights, and the first and

third Blessing factors, which required a benefit for an intended class. Id.

      But the Decision said exactly what HFS claims is missing: “[N]ot all statutory

benefits, requirements, or interests are enforceable under section 1983,” and Talevski

“reinforced earlier precedents allowing rights under Spending Clause legislation”

only if the statutory provision “unambiguously confer federal rights.” 100 F.4th at

778. It clearly stated and applied the correct standard for distinguishing benefits from

rights. HFS also suggests, Petition at 4, 6, 9, that the Decision applied the Blessing

three-factor test instead of the Talevski/Gonzaga test. In fact, it applied each

separately, and found enforceable rights under each.

      B. The Decision properly considered context and history.

      As part of its Talevski/Gonzaga analysis, the Decision considered the context

and history of the Section 1396u-2(f)—“standard tools in construing statutes.” 100

F.4th at 782. “Talevski and Gonzaga instruct courts to use them in answering such



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questions about applying section 1983.” Id. (citing Talevski, 599 U.S. at 183). HFS’s

arguments against giving attention to context and history is simply wrong. HFS

Petition at 1-2, 10-13. The Decision correctly focused on each:

      (i)     History: Before MCOs were authorized to pay Medicaid claims, states

were required to pay providers directly on the 30/90-day schedule. They had no

discretion to deviate. Wilder v. Virginia Hosp. Ass’n, 496 U.S. 498 (1990), which the

Decision noted remains good law, made timely payment enforceable by providers

against the states. In 1997 Congress applied the same payment timetable to MCOs

by enacting Section 1396u-2(f), against the background of direct provider

enforceability. “We are aware of no indication that Congress intended to cut back on

those rights in 1997 when it enacted section 1396u-2(f) to extend the prompt payment

rule to managed care.” 100 F.4th at 782-83.

      (ii)    Context: Section 1396u-2(f) was part of the Balanced Budget Act of 1997.

The enacting section was entitled “Assuring Timeliness of Provider Payments.” From

this description the Decision concluded: “That language of assurance further supports

recognizing a right enforceable under section 1983.” 100 F.4th at 783.

      (iii)   History: In 2009 Congress extended the timely-payment rule to Indian

healthcare and managed care providers. The statute that did so referred to the

timely-payment rule incorporated in Section 1396u-2(f) as the “rule for prompt

payment of providers,” stating that the right granted to Indian healthcare providers

was “consistent with the rule for prompt payment of providers under section 1396u-

2(f).” 100 F.4th at 783.



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      (iv)   Context: HFS argued that its only duty under Section 1396u-2(f) was to

place the timely payment requirement in its contracts with MCOs. The Decision

looked at other provisions in the Medicaid statute to see if they supported HFS’s view.

It found provisions indicating Congress’ intention to require the States to do more

than put timely-payment requirements on paper. Id. at 785 (analyzing reporting and

oversight responsibilities, auditing and inspections, and provisions for imposing

sanctions on MCOs). From this context, the Decision concluded:

      These responsibilities support the conclusion that Congress imposed on
      states a duty to ensure that the right to timely payment in section
      1396u-2(f) is honored in real life. The State argues here that Congress
      intended to leave the issue of real-life effectiveness to the unfettered
      discretion of state and federal oversight authorities. But Congress chose
      language that makes timely payment more than just a paper
      requirement that would allow state officials to put the terms in their
      MCO contracts and then forget about them, leaving providers to fend for
      themselves.

Id.

      HFS mischaracterizes the Decision as “the majority superimpose[ing] its own

policy-based view of the best means to achieve Congress’s goal of having MCOs pay

providers on time.” HFS Petition at 13. Wrong. The Decision did not create the history

or context it considered. Congress did, and the Supreme Court in Talevski directed

that standard inquiry, as do prior decisions.

      The Decision addressed and rejected HFS’s and the dissent’s claim that Section

1396u-2(f) is ambiguous, and thus not enforceable. 100 F.4th at 786, 788. It rejected

HFS’s alternative reading of the statute, applying statutory language, history and

context, to find Section 1396u-2(f)’s “mandatory language, coupled with [HFS’s]



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additional oversight and reporting responsibilities, supports the reading that section

1396u‐2(f) must be doing more than imposing merely the formality of contract

language.” Id. at 786 (emphasis added). It addressed HFS’s “ambiguity” argument,

explaining that Pennhurst State School & Hospital v. Halderman, 451 U.S. 1, 17

(1981), “taught that Congress may impose conditions on grants of federal money only

if it does so ‘unambiguously’ and ‘with a clear voice.’” 100 F.4th at 788. That means

that “States cannot knowingly accept conditions of which they are ‘unaware’ or which

they are ‘unable to ascertain,’” Arlington Central School Dist. Bd. of Educ. v. Murphy,

548 U.S. 291, 296 (2006) (quoting Pennhurst, 451 U.S. at 17). Statutory requirements

must be viewed “‘from the perspective of a state official . . . deciding whether the State

should accept Medicaid funds and the obligations that go with those funds.’” 100 F.4th

at 788 (quoting Murphy, 548 U.S. at 296) (cleaned up). Applying that principle to the

text of Section 1396u-2(f), the Decision held:

      A reasonable state official planning to launch a managed-care program
      would have understood that the state would have to try to ensure that
      providers receive prompt payment from MCOs. Such an official would
      not reasonably have concluded that Congress intended that the “rule for
      prompt payment of providers” be only a proverbial paper tiger. [citation]
      That conclusion would conflict with the state’s oversight and reporting
      obligations and its enforcement duties under the Medicaid Act.

100 F.4th at 788 (emphasis added). Thus, the Decision accurately followed Pennhurst

and its progeny, finding that HFS’s alternative interpretation “conflicts” with the

statutory scheme and “must be” wrong. Id.

      HFS also wrongly concocts ambiguity, claiming a statute is unambiguous only

if it has a single plausible meaning. HFS Petition at 8, citing Graham County Soil &

Water Conservation Dist. v. U.S. ex rel. Wilson, 545 U.S. 409, 419 n.2 (2005). But
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Graham County did not establish a test for determining whether a statute is

ambiguous, let alone the test HFS asserts. It dealt with how to interpret a statute of

limitations, beginning with its conclusion that the provision was ambiguous. See 545

U.S. at 415 (“Section 3731(b)(1) is ambiguous, rather than clear[.]”). It did not say

that a statute is unambiguous when only one reading is plausible. It recognized that

statutes may be subject to more than one plausible interpretation, but the rules of

construction permit a court to determine its meaning. Id. at 419 (“where, as the case

is here, there are two plausible constructions of a statute of limitations, we should

adopt the construction that starts the time limit running when the cause of action . . .

accrues”).

II.   The Decision does not “nullify” a contract-based
      enforcement mechanism created by Congress.

      HFS asserts that the Decision is a “nullification” of the contract-based

enforcement mechanism “that Congress established in § 1396u-2(f)[.]” HFS Petition

at 14. The MCOs make the same argument, claiming that allowing providers to sue

states to cause the states to do something to address systemic problems with MCO

performance “will strain the resources of the federal courts,” MCO Petition at 2, 7;

threaten[] “disruption to the parties’ business operations,” id. at 7; and “require[]

district courts to become the ‘new Medicaid claims processors for the states[,]’” id.

They claim that the Decision is based on “improper hostility to arbitration” and

reflects “the majority’s disparagement of arbitration.” Id. at 9, 12. None of this is

accurate.




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      A. HFS and the MCOs do not apply the correct standard:
         Are individual rights incompatible with a mandated
         remedy.

      HFS and the MCOs do not acknowledge or apply the controlling

Talevski/Gonzaga standard for determining whether a federal statutory remedy

forecloses an individual right to sue under § 1983. It is whether defendants who

oppose recognition of an individual right can meet their burden to show that

recognition of an individual right is “incompatible with remedies available under the

Medicaid Act itself.” 100 F.4th at 792. The burden is on HFS to show that “Congress

meant to leave providers on their own, or with only such help as state officials choose

to provide.” Id. HFS does not even attempt to make such a showing, relying solely on

the dissent’s conclusions that allowing suit under § 1983 “would thwart Congress’s

scheme” and “strip the discretion Congress has provided to Illinois to decide for itself

when and how it will enforce an MCO’s contractual obligation.” HFS Petition at 14-

15.

      Those conclusory assertions do not withstand analysis. They do not identify

any specific Congressional enforcement system, nor explain why any such system is

incompatible with an individual right to sue. It is undisputed that “[t]he Medicaid

Act includes no express prohibition on enforcement under section 1983.” 100 F.4th at

792. At most HFS and the MCOs imply the existence of an exclusive, preemptive

federal statutory remedy from the fact that Section 1396u-2(f) describes the required

terms of the contract between the state agency and the MCOs. They, and the dissent,

ignore the fact that Section 1396u-2(f) says nothing about state discretion to enforce



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or not enforce the obligation to ensure timely payment of providers. They ignore the

fact that the statutory language—that the MCOs “shall make payment to health care

providers . . . on a timely basis”—is mandatory, not discretionary. They do not meet

their burden of demonstrating that the mere existence of a contract between the state

agency and the MCOs is incompatible with a separate right by providers to sue the

state agency.

      When the State is not doing its job of monitoring and enforcing MCO

performance, and allowing violations of individual rights of providers, it is

established law that providers can sue the state agency under § 1983. Other decisions

of this Court, cited in the Decision, uphold individual rights to sue HFS to enforce

provisions of the Medicaid law. See the Decision’s extended discussion of O.B. v.

Norwood, 838 F.3d 837 (7th Cir. 2016), 100 F.4th at 789-90, including its reliance on

Judge Easterbrook’s concurrence stating that when HFS failed to act as required by

federal law, relief was appropriate even if “[a]ll a district court can do in a situation

such as this is require [the State] to start trying.”2

      B. The existence of an arbitration remedy is                        not
         incompatible with individual rights under §1983.

      The MCOs argue that the Decision found that “arbitration is not a manageable

alternative to the creation of new § 1983 claims . . . .” MCO Petition at 9-10. They

argue that arbitrations could be consolidated so that many individual arbitrations




2  Other cases enforcing federal Medicaid law cited by the Decision include BT
Bourbonnais Care, LLC v. Norwood, 866 F.3d 815, 821 (7th Cir. 2017), and Talevski,
both in this Court and in the Supreme Court.
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would not be necessary. Id. They claim that “a factfinder must look at individual

claims [to determine a violation of the 30/90-day rule].” Id. at 11. They miss the point:

The controlling standard is whether the existence of an arbitration remedy between

some (but not all) MCOs and providers, like the Hospital, is incompatible with a

separate remedy under § 1983 by providers against HFS to require HFS to address

late payments, inadequate remittance disclosures, and other systemic issues.

      The MCOs claim that the Decision “disparages” arbitration as a “workable

means of correcting purported ‘systemic’ problems[.]” Id. at 12. Not so. The Decision

agreed with HFS that claim-by-claim adjudication would “seem to conflict with the

arbitration clauses . . . between the MCOs and Saint Anthony.” 100 F.4th at 789. But

it noted “good reason to doubt that contractual remedies alone can vindicate the

provider’s right to prompt payment.” Id. at 793. It doubted that adjudication of

individual claims at the provider-MCO level “across many thousands of claims . . .

would even be manageable, let alone superior to a systemic solution implemented by

HFS.” Id. Most importantly, it applied the controlling standard to the possibility of

an arbitration/contractual remedy: “we are not persuaded that Congress, implicitly

through the contractual model, created a ‘comprehensive enforcement scheme that is

incompatible with individual enforcement under [section 1983].’” Id. (quoting

Gonzaga, Blessing, and Talevski).

      Amicus, an association representing the interests of MCOs, advances nothing

new. It improperly disputes well-pleaded allegations at the pleading stage and

ignores the possibility of systemic failures by state oversight agencies, asserting that



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the case presents only a “routine reimbursement dispute.” Amicus Br. 2. It incorrectly

states that claims against state agencies for their failure properly to carry out their

duties are “unprecedented,” ignoring cases in this Court and others cited in the

Decision doing exactly that. It repeats the MCOs’ erroneous assertion that the

Decision requires federal courts to adjudicate individual healthcare claims. It asserts

that the Decision rests on the “unfounded assumption” that individual arbitrations

are not effective to remedy systemic problems, id. at 7, when the Decision actually

rests on the proper application of the Talevski/Gonzaga/Blessing incompatibility

test.

        No arbitration between the Hospital and an MCO could possibly solve the

shortcomings in HFS’s performance at issue. No arbitration the Hospital could bring

against an MCO could require HFS—which is not a party, and under Illinois law

cannot be made a party to an arbitration— properly to monitor and police poor MCO

performance. Only a provider lawsuit against HFS can address HFS’s systemic

failures to gather necessary data and act upon it. Addressing systemic failures

reduces costs of generating timely payment. Contrary to the MCOs’ argument, it is

far more efficient than individual provider-MCO arbitrations. By moving the State

from passive acquiescence in MCO non-performance, to active engagement to correct

deficiencies, the overall benefits will result in net cost savings system-wide. That is

what Congress expected.

        The MCOs’ argument that the Decision will require the district courts to

become claims processors for the states and engage in claim-by-claim adjudication,



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MCO Petition at 7, is a boogeyman. The Hospital seeks no such relief. Claim-by-claim

adjudication is unnecessary for a federal court to determine that HFS is not collecting

data necessary even to allow it to determine whether MCOs are paying claims on

time, or with sufficient remittance transparency to permit the providers to know

whether they are receiving what they are entitled to receive from the MCOs, as the

Hospital alleges.3 Those systemic problems that can only be addressed in a § 1983

lawsuit by a provider against HFS.

        The MCOs also complain that the Decision does not provide adequate guidance

to the district court on “crucial issues” such as when § 1983 claims are available and

what is a “systemic” issue justifying relief. They ignore that this claim is at the

pleading stage. Those questions can be addressed, to the extent necessary, on remand

(100 F.4th at 792):

        We need not and should not adopt a mathematical definition of
        “systemic” failures at the pleadings stage. That problem can await
        further factual development. (To use a metaphor often used in the law,
        a person can usually tell the difference between being in mountains, in
        foothills, or on a plain even if there is not a sharp boundary between
        mountains, foothills, and plains.)

        HFS and the MCOs cannot plausibly argue that imposing an obligation on HFS

to obtain from MCOs sufficient data to monitor their compliance with timely and

transparent payment is not a “systemic” issue. Speculation that some other issues

may arise that are not systemic, or are outside the scope of appropriate relief, is no

reason to scuttle the entire effort, as the Decision recognized. 100 F.4th at 789.




3   See Supplemental Complaint ¶ 20 (A45), ¶ 55 (A55); Complaint ¶ 49 (A16).
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                                 CONCLUSION

      The Petitions for Rehearing should be denied.

Dated: June 25, 2024                 Respectfully submitted,

                                     SAINT ANTHONY HOSPITAL

                                     By: /s/ Michael L. Shakman
                                            One of its attorneys

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                       CERTIFICATE OF COMPLIANCE

      This response complies with the word limitations set forth in this Court’s order

dated June 11, 2024 (Doc. 130), because it does not exceed fifteen (15) pages.

      This response also complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and Circuit Rule 32 and the typestyle requirements of Fed. R. App. P.

32(A)(6) because it has been prepared in a proportionally spaced typeface (12-point

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      I hereby certify that on June 25, 2024, I electronically filed this response with

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